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                                               Attorneys for Defendants,
    15
                                               True Wearables, Inc. and
    16                                         Marcelo Lamego
    17                    IN THE UNITED STATES DISTRICT COURT
    18                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
    19                                 SOUTHERN DIVISION
    20                                         ) Case No. 8:18-CV-02001-JVS-JDE
         MASIMO CORPORATION, a                 )
    21   Delaware corporation; and             )
         CERCACOR LABORATORIES, INC.,          ) JOINT STIPULATION TO
    22   a Delaware corporation,               ) AMEND THE SCHEDULING
                                               ) ORDER
    23         Plaintiffs/Counterdefendants,   )
                                               )
    24         v.                              ) Hon. James V. Selna
                                               ) Magistrate Judge John D. Early
    25   TRUE WEARABLES, INC., a               )
         Delaware corporation; and             )
    26   MARCELO LAMEGO, an individual,        )
                                               )
    27         Defendants/Counterclaimants.    )
                                               )
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     1           Pursuant to Local Rule 7-1, Plaintiffs and Counterdefendants MASIMO
     2   CORPORATION and CERCACOR LABORATORIES, INC. (collectively,
     3   “Plaintiffs”) and Defendants and Counterclaimants TRUE WEARABLES, INC.
     4   and MARCELO LAMEGO (collectively, “Defendants”) hereby submit the
     5   following stipulated request to extend the deadlines, which does not affect the trial
     6   date, set forth in the Court’s Order Amending the Scheduling Order. (Dkt. No.
     7   117.)
     8           The Court initially scheduled the Markman hearing for September 30, 2019
     9   and trial for August 18, 2020. (Dkt. No. 35.) The Court adopted a revised case
    10   schedule after moving the Markman hearing. (Dkt. No. 79.) The Court further
    11   revised the schedule at parties’ request to accommodate discovery in view of the
    12   COVID-19 pandemic. (Dkt. No. 117.)
    13           Good cause exists under Federal Rule of Civil Procedure 16 to further
    14   extend certain deadlines. The parties currently face deadlines of January 22, 2021,
    15   for fact discovery, and February 26, 2021, for opening expert reports. The parties
    16   have been moving forward diligently with discovery to the extent possible in light
    17   of the COVID-19 pandemic. However, the parties will be unable to conduct
    18   certain discovery because of the pandemic and related stay-at-home orders in
    19   place in California as well as in the other states in which the parties, counsel of
    20   record and the experts reside: Colorado, Minnesota, Oregon, and New York. The
    21   parties’ experts, for example, reside outside of the Central District of California
    22   and cannot travel to the district to view source code on non-networked or stand-
    23   alone computers as required under the Protective Order. While the parties will
    24   move forward with certain depositions remotely, the parties have been unable to
    25   agree on in-person depositions in light of the stay-at-home orders and numerous
    26   safety concerns. For example, depositions involving source code are considerably
    27   more difficult to accommodate remotely.         The parties submit that in-person
    28   depositions, if safely possible, of certain of witnesses and experts are justified,
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     1   especially because some depositions will include testimony regarding detailed
     2   source code, company representatives, and the Defendants themselves.
     3         The parties believe that good cause is present to extend the schedule to
     4   allow time to accommodate in-person source code review on stand-alone
     5   computers and potentially at least some in-person depositions, as well as the added
     6   time it takes to address the various and different shelter in place orders that add to
     7   the complexity of discovery. The parties request an adjustment of the current case
     8   schedule as proposed in Exhibit A and are willing to discuss the proposed dates
     9   with the Court, if so desired, at the Court’s convenience.
    10
               IT IS SO STIPULATED,
    11

    12                                    Respectfully submitted,
    13                                    KNOBBE, MARTENS, OLSON & BEAR, LLP
    14   Dated: December 9, 2020          By: /s/ Brian C. Claassen
                                                 Brian C. Claassen
    15
                                              Attorneys for Plaintiffs,
    16                                        Masimo Corporation and Cercacor
                                              Laboratories, Inc.
    17

    18                                    MERCHANT & GOULD, P.C.
    19   Dated: December 9, 2020          By: /s/ Ryan J Fletcher (With Permission)
    20                                        Ryan J. Fletcher
    21                                        Attorneys for Defendants.
                                              True Wearables, Inc. and Marcelo Lamego
    22

    23                               FILER’S ATTESTATION
    24         Pursuant to Local Rule 5-4.3.4 regarding signatures, I hereby attest that
    25   concurrence in the filing of this document has been obtained from all signatories
    26   above.
    27   Dated: December 9, 2020                 By: /s/ Brian C. Claassen
    28                                           Brian C. Claassen
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     1                                     EXHIBIT A
     2
                               Matter                            Current     Proposed
     3                                                           Deadline    Deadline
     4   Trial date (jury)                                       1/11/2022   1/11/2022
     5
         Estimated length: 5-7 days                              8:30 am      8:30 am
     6
         Final Pretrial Conference: Hearing on Motions in
     7   Limine; File Agreed Upon Set of Jury Instructions       8/23/2021   12/13/2021
     8   and Verdict Forms and Joint Statement re Disputed
         Instructions and Verdict Forms; File Proposed Voir      11:00 am    11:00 am
     9   Dire Qs and Agreed-to Statement of Case
    10
         Lodge Pretrial Conf. Order; File Memo of
    11   Contentions of Fact and Law; Exhibit List; Witness      8/2/2021    11/22/2021
    12   List; Status Report re Settlement

    13   Last Day for hand-serving Motions in Limine             7/15/2021   11/8/2021
    14   Last date for Settlement Discussions                    7/9/2021    11/1/2021
    15
         Last day for hearing motions                            6/7/2021    10/4/2021
    16
         Last day for hand-serving motions and filing (other
    17                                                           5/10/2021    9/6/2021
         than Motions in Limine)
    18   Expert Discovery Cut‐off
                                                                 4/16/2021    8/6/2021
    19   (S.P.R. 4.3)

    20   Rebuttal Expert Witness Disclosures                     3/26/2021   7/16/2021
    21   Opening Expert Witness Disclosures [See Fed. R.
    22
         Civ. P. 26(a)(2)]

    23   Patentee Files Final Infringement Contentions,
    24
                                                                 2/26/2021   6/18/2021
         Accused Infringer Files Final Invalidity Contentions,
    25   All Parties File Advice of Counsel Disclosures
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     1
                              Matter                        Current      Proposed
     2                                                      Deadline     Deadline
     3   Non-expert Deposition Cut-off
                                                            1/22/2021    5/21/2021
     4

     5
         Non-expert Discovery Cut-off (excluding
     6   depositions)                                       1/22/2021    5/21/2021
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